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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION



 PATRICK GHIORSO,
                                                 CV 16-19-BLG-SPW
                      Plaintiff,

 vs.                                              ORDER

 AMERICAN GENERAL LIFE
 INSURANCE COMPANY, a Texas
 Corporation,

                      Defendant.

       Plaintiff Patrick Ghiorso brings this action against American General Life

Insurance Company ("American General") seeking benefits he claims are due

under his mother's accidental death plan. The parties filed cross-motions for

summary judgment on the question of whether Ghiorso is entitled to benefits under

the terms of the plan. For the reasons set forth below, American General's motion

for summary judgment is granted and Ghiorso's motion for summary judgment is

denied.

I.     Background

       In July 2012, Plaintiff Patrick Ghiorso's mother, Julia Rushing-Ghiorso,

died of a mixed drug overdose at her home in Glendive, Montana. (Doc. 17 at ii 1;

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Doc. 28 at 1 1). Prior to her death, Julia suffered from a history of sleep apnea,

back surgery and diabetes. (Doc. 28 at 1 11 ). She took "innumerable" medications

as a result. (Id.). According to the post-mortem examination, it was a reaction

between two, some, or all of these prescription drugs that caused her death. (Doc.

21at18). Julia's death certificate indicates that her death was an "[a]ccident,"

(Doc. 21 at 14), "[d]ue to misapplication of prescribed Medication for a recent

backsurgery (sic) per toxicology report[.]." (Doc. 28at14). In his Report of

Postmortem Examination, Dr. Thomas Bennett reported detecting the following

drugs in Julia's system at the time of her death: nicotine, cotinine, caffeine,

diazepam, nordiazepam (sic), trimethoprim, zolpidem, gabapentin,

cyclobenzaprine, promethazine, quetiapine metabolite, morphine (free), morphine

glucuronide, hydromorphone, and hydromorphone glucuronide. (Doc. 28 at 19).

      Prior to her death, Julia obtained an accidental death and dismemberment

insurance policy from American General. The policy has a $250,000 death benefit

and was in effect at the time of Julia's death. (Doc. 21 at 12). After Julia's death,

in December 2012, Ghiorso made a claim for policy benefits as the sole

beneficiary. (Id. at 111). On May 8, 2013, American General informed Ghiorso

that the policy did not cover Julia's death. (Doc. 21-4). American General

explained that because medication was the whole contributing cause of Julia's loss,

her death did not meet the definition of an Accidental Injury under the policy. (Id.

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at 1). On March 3, 2016, Ghiorso filed a complaint for declaratory judgment

against American General asking this Court to review the terms of the insurance

policy and declare that American General was required to pay the death benefit.

(Doc. 1).

II.   Legal Standard

      A.     Summary Judgment

      Summary judgment is appropriate where a party can show that, as to any

claim or defense, "there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter oflaw." Fed.R.Civ.P. 56(a). Summary

judgment is "not a disfavored procedural shortcut," but is instead the "principal

tool[ ] by which factually insufficient claims or defenses [can] be isolated and

prevented from going to trial with the attendant unwarranted consumption of

public and private resources." Celotex Corp. v. Catrett, 477 U.S. 317, 327 (1986).

"[T]he mere existence of some alleged factual dispute between the parties will not

defeat an otherwise properly supported motion for summary judgment." Anderson

v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986). There must be a genuine

dispute as to any material fact, which is a fact "that may affect the outcome of the

case." Id. at 248.

      When cross-motions for summary judgment are filed, the Court must

evaluate each motion separately, giving the non-moving party in each instance the

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benefit of all reasonable inferences. ACLU v. City of Las Vegas, 333 F.3d 1092,

1097 (9th Cir. 2003), cert. denied 540 U.S. 1110 (2004). The filing of cross-

motions for summary judgment, where both parties argue there are no material

factual disputes, does not diminish the court's responsibility to determine whether

disputes as to material fact are present. Fair Housing Council ofRiverside County,

Inc. v. Riverside Two, 249 F.3d 1132, 1136 (9th Cir. 2001).

      B.     Insurance Contract Law

      The interpretation of insurance contracts is a question of law in Montana.

Marie Deonier & Assoc. v. Paul Revere Life Ins. Co., 9 P.3d 622, 630 (Mont.

2000). The language of the insurance policy governs if it is clear and explicit. Id.

at 630. The court must "accord the usual meaning of the terms and words in an

insurance contract" and "construe them using common sense." Modroo v.

Nationwide Mut. Fire Ins. Co., 191P.3d389, 396 (Mont. 2008). In interpreting an

insurance contract, the court "will read the insurance policy as a whole, and will if

possible, reconcile its various parts to give each meaning and effect." Farmers

Alliance Mut. Ins. Co. v. Holeman, 961P.2d114, 119 (Mont.1998).

      An insurance contract is ambiguous if it is "'reasonably subject to two

different interpretations."' Modroo, 191 P.3d at 396 (quoting Mitchell v. State

Farm Ins. Co., 68 P.3d 703 (Mont. 2003)). Whether a provision of an insurance

contract is "reasonably susceptible to two different interpretations," is determined

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from "the viewpoint of a consumer with average intelligence, but untrained in the

law or the insurance business." Id. However, a provision is not ambiguous "just

because a claimant says so or just because the parties disagree as to [its] meaning ..

. ." Giacomelli v. Scottsdale Ins. Co., 221 P.3d 666, 667 (Mont. 2009) (internal

citations omitted). Ordinarily, "[a]ny ambiguity in an insurance policy must be

construed in favor of the insured and in favor of extending coverage." Hardy v.

Progressive Specialty Ins. Co., 67 P.3d 892, 896 (Mont. 2003).

III.   Discussion

       The parties agree that Julia died from a mixed drug overdose. They also

agree that she was taking the drugs as prescribed for various medical conditions,

including sleep apnea and diabetes. (Doc. 21-3 at 6). American General argues

that summary judgment is appropriate and coverage was appropriately denied

because the policy definition of"accidental injury" specifically states that loss

resulting from medication is not an "accidental injury."

       Ghiorso argues that coverage exists for three reasons. First, Ghiorso argues

that Julia's death is presumed accidental under Montana law so Montana law does

not allow American General to exclude coverage for Julia's death. Second, he

argues that the limiting language in the "accidental injury" definition must be

construed as an exclusion, which creates an ambiguity in light of the prescription

drug exclusion contained elsewhere in the policy, so American General cannot


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show his claim is excluded. Third, Ghiorso argues that the policy is considered

"disability insurance" under Montana statutory law, and American General cannot

show coverage is excluded under the statutes. The Court addresses these arguments

in tum.

      A.      Coverage

      An insured bears the initial burden to establish that a claim falls within the

basic scope of the insurance coverage. Travelers Cas. and Sur. Co. v. Ribi

Immunochem Research, Inc., I 08 P.3d 469, 476 (Mont. 2005). Once the insured

meets this initial burden, the insurer has the burden of proving the applicability of

an exclusionary clause. Id. Thus, before any exclusion becomes relevant, Ghiorso

must establish that coverage exists.

              1.    Does coverage exist because Julia's death is presumed
                    accidental under Montana law?

      As an initial matter, Ghiorso argues that Montana law presumes Julia's death

was accidental so coverage exists notwithstanding the policy language. (Doc. 20 at

11). Relying on Schroeder v. Metro. Life Ins. Co., 63 P.2d 1016, 1021 (Mont

1936), Ghiorso suggests that Julia's death certificate, which designates the manner

of her death as an "accident," is primafacie evidence of his entitlement to policy

benefits. (Doc. 20 at 18). The Court disagrees.

      In Schroeder, the insured died of a heart attack. 63 P.2d at 1018-19. The

question before the court was whether she knew she suffered from heart disease
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when she acquired her life insurance (which would have precluded benefits). Id.

In order to obtain benefits, the insured's estate had submitted a proof of death,

accompanied by a "physician's statement." Id. The physician's statement reported

that the insured's cause of death was, in part, "chronic myocarditis," or heart

disease, that the insured had suffered from "chronic disease" and that the doctor

had treated her two months prior to her death. Id. The Schroeder court held that

when the beneficiary submits a proof of death (including the physician's

statement), the beneficiary adopts the statements made by the physician, and those

statements are sufficient to make a prima facie case against the beneficiary. Id. at

1021. In other words, the physician's statements were prima facie evidence that

the insured knew she suffered from heart disease when she applied for life

insurance, in violation of her warranty that she was in sound health. Id. at 1020.

Contrary to Ghiorso's implication, the Schroeder court did not use a death

certificate to conclusively define a policy term. The court used the death

certificate to find facts.

       While Schroder may stand for the proposition that Julia's death certificate is

prima facie evidence on the facts of her death (e.g., it was accidental as opposed to

intentional), it does not stand for the broad proposition that death certificates

dictate the existence of insurance coverage. Whether Julia's death occurred

accidentally is an entirely different question than whether she sustained an


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"accidental injury" under the terms of the insurance policy. In order for the court

to decide whether Julia died of an "accidental injury," the court must interpret and

apply the policy terms as a matter of law. Newbury v. State Farm Fire & Cas. Ins.

Co. of Bloomington, Ill., 184 P.3d 1021, 1024 (Mont. 2008). Thus, the Court will

tum to the policy language.

             2.     Does coverage exist under the plain language of the policy?

      American General's policy provides that it will "pay the accidental death

benefit shown in the Policy Schedule if the Insured Person dies as a result of an

Accidental Injury." (Doc. 21-1 at 5). In the policy definitions, "accidental injury"

is defined as "accidental bodily injury, which is unforeseen and suddenly sustained

without design or intent of an Insured Person that:

      (a)    is not caused or contributed to, directly or indirectly, by a disease,
             bodily or mental infirmity, illness, infection, medicine or surgery used
             to treat an Insured Person, or any other cause or physical condition
             [ ... ]

(Id. at 4) (hereinafter the "medicine clause").

      The plain language of the medicine clause makes clear that bodily injury

caused or contributed to by medicine is not an "accidental injury." (Id.). Ghiorso

agrees that Julia died from a misapplication of prescription drugs. (Doc. 19 at 1).

Typically, the language of an insurance policy governs if it is clear and explicit.

Marie Deonier & Assoc., 9 P.3d at 630. So, under the plain language of the policy,

Julia's death was not an "accidental injury" and is not covered.
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      Ghiorso argues, however, that the medicine clause in the initial coverage

grant is actually an exclusion, which, when read in conjunction with the drug

exclusion, creates a policy ambiguity that must be construed in his favor. (Doc. 20

at 8). Relying on Second and Third Circuit Court decisions, Ghiorso argues that

the medicine clause must be construed as an exclusion, regardless of its placement

in the initial coverage grant, because the exclusionary effect of the policy

language, not its placement, controls. (Id. at 10) (quoting Ston£:Wal! Jns. Co. v.

Asbestos Claims Mgt. Corp., 73 F.3d 1178, 1205 (2d Cir. 1995) and Borough of

Moosic v. Darwin Nat. Assur. Co., 556 Fed. Appx. 92, 97 (3d Cir. 2014)).

Assuming, without deciding, that this is true, and coverage exists initially, the

policy exclusions still ultimately operate to bar coverage.

             3.     Exclusions

The policy includes the following drug exclusion:

      We will pay NO benefits for any Accidental Injury or any loss caused or
      resulting in whole or in part by the following:


      (b)    the Insured Person's being under the influence of an excitant,
             depressant, hallucinogen, narcotic; or any other drug or intoxicant
             including those prescribed by a Physician that are misused by the
             Insured Person[.]

(Doc. 21-1). Ghiorso argues that the medicine clause cannot apply to prescription

drugs because it, combined with the drug exclusion, creates a policy ambiguity



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with regard to ongoing medical treatment involving the use of prescribed narcotic

medication. The Court disagrees.

      The touchstone in determining whether ambiguity exists in an insurance

policy is whether the relevant portion is '"reasonably subject to two different

interpretations."' Modroo, 191 P.3d at 396. As noted above, this determination is

made from "the viewpoint of a consumer with average intelligence, but untrained

in the law or the insurance business." Id.

      Ghiorso first contends that the term "medicine" makes the medical clause

exclusion ambiguous. (Doc. 20 at 15). But giving the terms and words used in the

policy their usual meaning, and construing those terms and words using common

sense, the Court finds that the word "medicine" is not ambiguous. A consumer

with average intelligence, not trained in the law or insurance business, would think

that "medicine" includes prescription drugs.

      Ghiorso also argues that because the medicine exclusion does not

specifically mention prescription drugs, but the drug exclusion does, a reasonable

interpretation of the policy is that the medical exclusion does not apply to

prescription drugs. (Id. at 16). Otherwise, Ghiorso argues, it would render the

drug exclusion "mere surplusage." (Id.). Consequently, Ghiorso argues that when

the policy as a whole is considered, an ambiguity exists regarding whether an

accidental death resulting from the use of a narcotic actually prescribed by a


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physician requires the insurance provider to pay accidental death benefits. (Id.).

In support of his argument, Ghiorso points the Court to a number of cases

interpreting policies containing both medical treatment exclusions and prescription

drug exclusions. But what Ghiorso fails to notice is the distinction between the

prescription drug exclusions in those cases versus the drug exclusion in this case.

      In the cases on which Ghiorso relies, the prescription drug exclusion

excluded loss resulting from injury sustained while taking prescription drugs,

unless the drugs were taken as prescribed or administered by a physician. See

O'Daniel v. Hartford Life Ins. Co., 2014 WL 3970081 (D.S.D. Aug. 13, 2014)

("injury resulting from voluntarily taking drugs which federal law prohibits

dispensing without a prescription ... unless the drug is taken as prescribed or

administered by a licensed physician."); Ramsey v. Hartford Life Ins. Co., 2013

WL 1693673 *2 (D. Idaho April 17, 2013) ("injury sustained while voluntarily

taking illegal or non-prescribed drugs, unless the drug is taken as prescribed or

administered by a licensed physician"); Smith v. Stonebridge Life Ins. Co., 582

F.Supp.2d 1209 (N.D. Cal 2008) ("[injury] caused by or result[ing] from the

Covered Person's taking or using any narcotic, barbiturate or any other drug,

unless taken or used as prescribed by a Physician); Edwards v. Monumental Life

Ins. Co., 812 F.Supp.2d 1263, 1267-68 (D. Kan. 2011) ("[Loss caused by] sickness




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or its medical or surgical treatment, including diagnosis, taking of any drug,

medication, narcotic, or hallucinogen, unless as prescribed by a Physician).

      In contrast, the drug exclusion at issue in this case excludes any loss

sustained by, "the Insured Person's being under the influence of an excitant,

depressant, hallucinogen, narcotic; or any other drug or intoxicant including those

prescribed by a Physician that are misused by the Insured Person[.]" (Doc. 21-1)

(emphasis added). In other words, the drug exclusion applies to injuries that occur

to an Insured as a result of being under the influence, including those injuries that

occur if a person abuses their prescription drugs. 1 It carves out those particular

prescription drugs that may be prescribed by a physician, but are not being used in

the manner prescribed.

      Looking at the policy as a whole, the only reasonable interpretation of the

two exclusions is to exclude coverage where an insured's injury resulted from

being under the influence of illegal drugs or by taking prescription drugs not as

prescribed. This provision is not inconsistent with the medicine exclusion

involving accidental death resulting from taking narcotics prescribed by a

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  This distinction is also what allows the drug exclusion clause to exist without
offending Montana insurance statutes regarding favorable language. (See Doc. 20
at 19-23). The case Plaintiff relies on for his statutory argument, Hummel v. Cont!.
Cas. Ins. Co., 254 F.Supp.2d 1183 (D. Nev. 2003), has the same policy language
regarding prescription drugs as the other distinguishable cases he cites. The
language in American General's policy is different and not less favorable than the
Montana statute. Moreover, American General points out that this policy is
considered "miscellaneous insurance," not disability insurance. The Court agrees.
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physician as part of medical treatment for sickness or disease. That is, when

medical treatment includes taking prescribed narcotics, as in this case, the medical

treatment exclusion applies without respect to the use of the prescribed narcotics.

The drug exclusion for non-prescribed narcotic use or abused prescription drugs is

simply inapplicable.

       Applying the policy to Julia's situation results in no coverage. It is

undisputed that Julia was receiving ongoing medical treatment at the time of her

death. This treatment included the use of prescription medication to address her

pain, depression, and diabetes. Consequently, her accidental death, which resulted

from a mixed drug overdose resulting from ongoing medical treatment for those

ailments, is expressly excluded by the unambiguous language of the policy.

III.   Conclusion

       For the above stated reasons, the Court GRANTS Defendant's motion for

summary judgment (Doc. 13), and DENIES Plaintiffs motion for summary

judgment (Doc. 19).

                          y/._
       DATED this _.q?Z~_day of October, 2016iJ

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                                                 SUSAN P. WATTERS
                                                 United States District Judge




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